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                 U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by Local Rules 83.12 through 83.14.

In the Matter of                                                      Case Number:    1:18-cv-03632
THE BOILING POINT, INC. d/b/a
PEPPERCORNS KITCHEN,
Plaintiff,
v.
NAN LUO a/k/a “JUDY LUO” and FANYUAN
INVESTMENT MANAGEMENT, LLC. d/b/a
PEPPERCORNS KITCHEN,
Defendants.
AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
THE BOILING POINT, INC. d/b/a PEPPERCORNS KITCHEN


NAME (Type or print)
Daliah Saper
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
             /s/ Daliah Saper
FIRM
Saper Law Offices, LLC
STREET ADDRESS
505 North LaSalle Street, Suite 350
CITY/STATE/ZIP
Chicago, IL 60654
ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS)                                TELEPHONE NUMBER
6283932                                                               312-527-4100

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE? (Enter “Y” or “N”) Y


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE? (Enter “Y” or “N”) N


ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR? (Enter “Y” or “N”) Y


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY? (Enter “Y” or “N”) Y

IF THIS IS A CRIMINAL CASE, USE AN “X” TO DESCRIBE YOUR STATUS IN THIS CASE.

RETAINED COUNSEL                                  APPOINTED COUNSEL
